 

 

COMPOSITE
EXHIBIT 7
(File Under Seal)

 

 
Confidential

 

 

Page 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

— — - =_ = = - — — - — _ - _ _ =_ = = = = x
VIRGINIA L. GIUFFRE,

Plaintiff,

Case No.:
-against- 15-cev-07433-RWS

GHISLAINE MAXWELL,

Defendant.
—_ _ - _ — -_ -_ _ —_ -_ = = _ = - - —_ - x

** CONFIDENTIAL**

Continued Videotaped Deposition of
GHISLAINE MAXWELL, the Defendant herein,
taken pursuant to subpoena, was held at
the law offices of Boies, Schiller &
Flexner, LLP, 575 Lexington Avenue, New
York, New York, commencing July 22,
2016, 9:04 a.m., on the above date,
before Leslie Fagin, a Court Reporter
and Notary Public in the State of New
York,

MAGNA LEGAL SERVICES
1200 Avenue of the Americas
New York, New York 10026
{866} 624-6221

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 18
1 G. Maxwell - Confidential
2 A. I think everyone here can
3 understand what intercourse is, is when you
4 have sex. I don't know how to say
5 intercourse any other way, having sex with
6 somebody. Perhaps you would like to define
7 it for me.
8 Q. I'm trying to get your definition
9 right now because you are the witness. When
10 you use the term intercourse, what are you
11 referring to?
12 A. I’m referring to a penis entering
13 someone's vagina.
14
15
16
17
18
19
20
21
22
23
24
25

 

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 20

G. Maxwell - Confidential

 

1i
12
13
14
15
16
17
18
19
20
21
22
423
24

25

MR. PAGLIUCA: I'm going to
instruct you not to answer, unless you
tie it to a specific individual related
to this case per the court's order.

MR. BOIES: I think the court's
order specifically permits this question
with respect to occasions related to
this case. If you instruct her not to
answer, all you're going to do is bring
her back. That's up to you

MR. PAGLIUCA: It's up to you as

the questioner, Mr. Boies. a

 

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 78

Maxwell - Confidential

.

 

oO bo 8 SF DH WH Fe ww

h

13
14

I would not know. I would say no

Did you engage in sexual activities

 

QO. Do you know now TR ane Lo

know Mr. Epstein?

I met her at her university

11
12

In Palm Beach

Q. At Mr. Epstein's home in Palm

15 Beach?

16

17

18
19

20
21
22
23
24

25

A. Yes.

So is it fair to say that

 

 

PAGLIUCA: This has already
been testified to Mr. Boies. We are
repeating testimony now.

MR. BOIES: I think in the context
of the witness' answers, these are fair

questions.

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 79

oO oOo SD HH ww KF

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24

25

G. Maxwell - Confidential

Now, I've asked you before, if you
want to instruct her not to answer, if
you want to go to the judge, we are
happy to do that, but I would suggest,
in the interest of moving it along, that
you stop these speeches.

MR. PAGLIUCA: You are not moving
it along is the problem, so maybe we
should call the court and get some
direction here, because I am not going
to sit here and rehash the testimony we
already gave.

MR. BOIES: That's fine.

THE VIDEOGRAPHER: The time is
10:51 a.m. and we are going off the
record.

(Whereupon, an off-the-record
discussion was held.)

THE VIDEOGRAPHER: The time is
10:56 a.m. and we are going back on the
record. This begins DVD No. 3.

MR. BOIES: We have just had a call
with Judge Sweet's chambers, Judge Sweet

is not available and his chambers

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 81

10
11
12

13

G. Maxwell - Confidential
or argue this in front of Judge Sweet.

But I will simply start referring
you back to the transcript and
instructing the witness not to answer
when I think we are getting into some
things that have been asked and answered
already.

MR. BOIES: Exactly the procedure
that I have proposed from the beginning.
If you think a question is out of
bounds, instruct not to answer and we

will then let the judge decide it.

14 BY MR. BOTIES:

15
16

17

Q. How did it happen, Ms. Maxwell,

 
 

ended up giving massages to you

 

18 and Mr. Epstein?

19
20
21
22
23
24

25

MR. PAGLIUCA: I'm going to
instruct you not to answer the question.
This has been previously, the subject of
your former deposition, it doesn't fall
into any of the categories ordered by
the court, and so you don't need to

answer that.

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 82

G. Maxwell - Confidential

Q. was 2: for the massages

3 that she gave you?

A. I didn't pay her, so I believe she

5 was paid.

10
11
12
13
14
15
16
17
18
19
20
21
22
23

Q. Who paid her?
A. I don't know who paid her.

MR. PAGLIUCA: Again, you've
already answered that there was no
sexual activity between yourself and
Mr. Epstein related to these massages.
That's record testimony today. That's
within the scope of the court's order.
The rest of this is outside the scope of
the court's order, and I instruct you
not to answer.

MR. BOIES: You are taking the
position that as long as she said says
that a massage did not involve sexual
activity, we cannot ask about massages.
That's your view?

MR. PAGLIUCA: On this particular

questioning, yes.

24 BY MR. BOIES:

25

 

Q. Did Mr. Epstein pay the

MAGNA®

LEGAL SERVICES
Confidential

 

 

Page 83

1
2

io oO -~T

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

G. Maxwell - Confidential

massages that she gave Mr. Epstein?

paid

MR. PAGLIUCA: You just asked this
question, and I told her not to answer.
I will tell her not to answer again for
the same reasons
Q. Do you know how much Mr. Epstein
Johanna to give massages?

MR, PAGLIUCA: Same instruction to
the witness. Why do you believe this is
within the scope of the court's order?

MR. BOIES: Because of the court's

reference to massages, and because I

"Massage" goes to whether there actually
was or was not sexual activity involved.
MR. PAGLIUCA: The witness has

testified there wasn't.

MR. BOIES: Perhaps it will
surprise you, I think it should not,
that I do not believe in my deposition I
need to simply accept her
characterization without

cross-examination. Now, that's

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 84

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

G. Maxwell - Confidential

something the judge can decide, but a
question as to how much this young girl
was being paid for a "massage", I think
gees directly to the issue of sexual
activity.

MR. PAGLIUCA: Here is the problem,
Mr. Boies, at the first deposition,
there were very limited instructions not
to answer and the witness was not told
not to answer questions about how much
people were paid or not paid or any of
those subject matters. The witness was
only instructed not to answer about
sexual activity concerning adults in the
home.

None of this came up during the
deposition, and you just don't get a
chance to redo the deposition because
you feel like you want to.

So the judge's order is in the
context of the instructions to the
witness not to answer in the first
deposition, which is simply sexual

activity involving adults, which was the

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 89

G. Maxwell - Confidential

            

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 90

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 99
1 G. Maxwell - Confidential
2 A. I don't recall ever hearing such a
3 thing.
4 Q. You know Mr. Les Wexner, correct?
5 A. I do.
6 Q. Do you know whether or not a

7 ae: :: ever at Mr. Wexner's property in

8 Ohio?

9 MR. PAGLIUCA: Can you tell me how
10 that relates to this order, counselor?
11 MR. BOIES: Yes, I think it goes
12 directly to the sexual activity related

13 to re -:: what Mr. Epstein was

15 Again, you can instruct not to
16 answer.

17 MR. PAGLIUCA: I'm trying to

18 understand why you are asking these
19 questions before I --

20 MR. BOIES: T'm asking these

21 questions because these are people who
22 not only have been publicly written
23 about in terms of the sexual activity
24 that they were put into in connection
25 with Mr. Epstein, but the person who

 

LEGAL SERVICES

 
Confidential

 

 

Page 100
1

2
3
4
5
6
7

8

9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

G. Maxwell - Confidential

wrote about them is somebody who talked
to this witness about it, and I think
that this is more than easily understood
cross-examination.,

MR. PAGLIUCA: Your question was,
do you know whether or 1 iii,
was ever at Mr. Wexner's property in
Ohio.

MR. BOIES: Yes. And if you let
her answer, you will see where it leads.
If you won't let her answer, the judge
is going toe determine it. And I just
suggest to you that you stop these
speeches and stop debating, because you
are not going to convince me not to
follow-up on these questions. If you
can convince the court to truncate the
deposition, that's your right, but all
you're doing is dragging this deposition
out.

MR. PAGLIUCA: You have the
opportunity to give me a good faith
basis why you are asking these

questions.

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 101

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

G. Maxwell - Confidential

MR. BOTES: I have given you a good
faith basis.

MR. PAGLIUCA: You haven't.

MR. BOIES: Then instruct not to
answer.

MR. PAGLIUCA: T am giving you the
opportunity to say why you are asking
the question, and why I'm telling her
not to answer and I am entitled to know
that

MR. BOIES: You are not entitled to
know why I'm asking the question. You
are only entitled to know that it
relates to the subject matter that I am
entitled to inquire about, and I don't
think the judge is going to think that,

you know, where Mr. Epstein shipped

ae .:: to is outside the scope

of what I'm entitled to inquire about.
THE WITNESS: Can we take a break?
MR. BOIES: Only if you commit not
to talk to your counsel during the

break.

THE WITNESS: That's ludicrous.

 

MAGNA©

LEGAL SERVICES

 
Confidential

 

 

Page 154
1 G. Maxwell - Confidential
2 Q. Insofar as you were aware, did
3 Virginia Roberts ever have a male friend that
4 visited her at the Epstein residences?
5 A. I don't recall ever seeing a man
6 with Virginia. I believe she had a fiance
7 that I was aware of, I think, but that's all.
8 Q. When were you aware that Virginia
9 Roberts had a fiance?
10 A. I can't say I became aware from
11 reading all this stuff, or I was aware of it
12 at the time. I don't know.
13 Q. Did you ever meet Virginia Roberts'
14 fiance?
15 A. I don't think I ever did. I don't
16 recall meeting any men with Virginia.
17 Q. Do you know [ii
oa
19 A. I never heard that name before.
20 QO. Have you ever heard the name of
2 ee
22 A. I don't recollect that name at all.
23 MR. PAGLIUCA: Mr. Boies, those
24 names are on Exhibit 26, which we have
25 already gone over and she said she

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 155
1

2

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

G. Maxwell - Confidential

didn't recognize those people, so now we
are just repeating things that we went
over.

MR. BOIES: I am in the context of
seeing if I can refresh her
recollection, because these are women
that who she also does not
recall, brought over to Mr. Epstein's
residences, and I also want to make a
very clear record of what her testimony
is and is not right now.

Again, you can instruct her not to
answer if you wish.

MR. PAGLIUCA: I'm trying to get to
nonrepetitive questions here. You
basically asked the same question three
times. Then we get a pile of notes that
get pushed up to you, you read those.
Then you ask those three times, and then
we go to another question. So it's
taking an inordinately long amount of
time and it shouldn't.

MR. BOIES: I think that is a

demonstrably inaccurate statement of

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 156
ai

2

10

G. Maxwell - Confidential
what has been going on, and I
attribute -- maybe I shouldn't attribute
it at all.
But if you want to instruct not to
answer, instruct not to answer. If you

don't, again, all I will do is request

that you cease your comments. I can't
do that. All I can do is seek sanctions
afterwards.

11 BY MR. BOIES:

12
13
14

15

16 Maxwe

17
18
13
20

21

Q. Ms. Maxwell.

A. Mr. Boies.

QO. What?

A. I'm replying. You said Ms.

11, I said Mr. Boies.

Q. Do you have a question?

A. No.

Q. I have a question.

A. I'm sure you do.

Q. During the time that you were in

22 the property or at the property that

23 Mr.

Epstein has in the Virgin Islands, were

24 you aware of Mr. Epstein getting any

25 massages?

 

MAGNA®©

LEGAL SERVICES

 
Confidential

 

 

Page 174
1 G. Maxwell - Confidential
2 court's order.
3 Q. In terms of preparing for this

4 deposition, what documents did you review?

5 MR. PAGLIUCA: To the extent I

6 provided you with any documents to

7 review, I will tell you that's both --
8 it's privileged and I instruct you not
9 to answer.

10 Q. Did your lawyer provide you with

11 any documents to review in preparation for
12 this deposition that refreshed your

13 recollection about any of the events that

14 occurred?

15 MR. PAGLIUCA: You can answer that
16 question.

17 A. No.

18 Q. How many documents did your lawyer

19 provide you with?

20 MR. PAGLIUCA: You can answer,
21 A. One, I believe.
22 Q. One document. Was that a document

23 that had been prepared by your attorney, or
24 was it a document from the past?

25 MR. PAGLIUCA: I will tell you not

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

o

19
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

G. Maxwell - Confidential

MR, PAGLIUCA: Don't answer that

question. It's outside the court's
order.
Q. In 2005, were you aware of any

effort to destroy records of messages you had
taken of women who had called Mr. Epstein in

the prior period?

MR. PAGLIUCA: Don't answer that
question. It's outside the court's
order.

MR. BOIES: I said I would give you
a break every hour. It's been an hour.

MR. PAGLIUCA: Do you want a break
or do you want to keep going?

THE WITNESS: Keep going.

MR. BOIES: What I told you before,
you asked for a break every hour. I am
happy to give you a break at a fixed
time. What I'm not happy to do is
interrupt a chain of examination.

So if you want a break now, we will
take a break now. If you don't want a
break now, we will not break for another

hour.

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 184
1 G. Maxwell - Confidential

2 Q. Next one is --
3 A. ae :: Virginia's guy that you

 

4 asked me about. I don't know

5 Q. I asked you about a a
6 A. Right, I don't know him, so I'm

7 guessing, I don't know him.

Q. —

9 A.

11 A.

13 A. I don't know who these people are.
14 QO. Was there a list that was kept of

15 women or girls who provided massages?

16 MR. PAGLIUCA: This has been

17 previously deposed on. This is not part
18 of the court's order, I will tell her

19 not to answer.

20 MR. BOIES: You are going to tell
21 her not to answer a question that says
22 was there a list of women or girls who
23 provided massages?

24 MR. PAGLIUCA: She has been

25 previously deposed on this subject.

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 185
1 G@. Maxwell - Confidential
2 MR. BOIES: I think this is
3 squarely in the court's order, but if
4 you instruct her not to answer, you
5 instruct her not to answer.
6 MR. PAGLIUCA: We'll find out.

7 BY MR. BOIES:

8 Q. I take it you don't know the ages

9 of any of these people?

10 A. The ones that I did recognize were
11 roughly my age. The ones I don't know, I

12 wouldn't have a clue.

13 QO. Did you, or insofar as you are

14 aware anyone, maintain a list of females that

15 provided massage services to Mr. Epstein at

16 his residences?

17 MR. PAGLIUCA: Objection to form

18 and foundation.

19 You can answer if you can.

20 A, I don't know anything about a list.
21 Q. Let me go back to Bxhibit 28. I

22 want to go down this list, excluding
23 Mr. Epstein himself, and just ask you a
24 series of the same essential questions about

25 each one.

 

MAGNA®

LEGAL SERVICES

 
Confidential

 

 

Page 197
1
2 CERTIFICATE
3
4
5 I HEREBY CERTIFY that GHISLAINE
6 MAXWELL, was duly sworn by me and that the
7 deposition is a true record of the testimony
8 given by the witness.
9

  

. they en
11 Les¥ie ratfin,

Registered Professional Reporter

H
oS

12 Dated: July 22, 2016

13

14

15 (The foregoing certification of

16 this transcript does not apply to any

17 reproduction of the same by any means, unless
18 under the direct control and/or supervision
19 of the certifying reporter.)

20

21

22

23

24

25

 

MAGNA®

LEGAL SERVICES

 
